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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

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White, Brad

From: Gary Gillis [Gary.Gillis@ci.stockton.ca.us]

Sent: Wednesday, June 22, 2005 9:38 AM

To: . Elzig, Barry; White, Brad; Dave Hafey

Ce: , Carl Eck: Christine Tien; Ed Rodriquez; Michael Rishwain; Ron Hittle; cplatten@wmjpr.com
Subject: Re: Draft LLC Language

First Responder fees are off the table per the CM. Other forms of remuneration in like
amounts are to be instituted.

W. Gary Gillis

Fire Chief

Stockton Fire Department

425. N. El Dorado Street
Stockton, CA 95202

(209) 937-8801

(209) 937-8836 fax
Gary.Gillis@ci.stockton.ca.us

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>>> Dave Hafey 06/21/05 3:21 PM >>>

Chief Eck, Rodriguez and I are all working on draft language to present for the Latest
draft of our Draft LLC MOU Agreement. Chief Gillis has asked that I forward you the
sections that we are working on per your request. The below information is a draft, is
not complete, and has not been reviewed by our attorneys, City Manager or Fire Chief. In
essence, we our working on language that contains our current JVA language, provides the
structure for our LLC and recognizes the contribution of the fire service by funding
"emergency services - first responder funding.” It is my understanding that AMR wants to
pay first responder fees as outlined in our JVA, but they want to remove the term, first
responder fees. Does Emergency Service Fee meet this need? :

Please review the following sections:

I. This MOU will be a part of the Joint Venture Agreement entered into by the Parties
as of July 3, 2003 (the "JV Agreement"). This fully executed "JV Agreement" was authorized
by the Stockton City Council Resolution No. 03-0303 adopted on June 10, ©2003. The Parties
further agree that the JV Agreement will not be superceded by any additional future
contractual obligations. ( Chief Gillis and C. Platten agree that the JVA can go away when
the JVA Language is captured in the MOU and Operating agreements) .

1.1 AMR shall cause to be formed a Limited Liability Company, whose members shall”
consist of the Parties. The name of the LLC shall be the San Joaquin County Emergency
Medical Services LLC (the "LLC"). The purpose of the LLC shall be to prepare the Proposal
and, if successful, provide Ambulance Services within the defined Service Areas. The
Proposal shall describe a clinically superior and economically efficient delivery system
that integrates ALS first responder services ("First Responder Services") with medical
transportation services and provides coordinated dispatch and treatment capabilities.
First Responder Services shall be provided by Stockton and, under a separate subcontract,
by the City of Lodi ("Lodi").

(a) This Proposal shall provide for funding to the Cities of Stockton and Lodi the
reasonable Marginal Costs of providing ALS and/or BLS First Responder Services (Emergency
Services Fee's). ,

{b)} Funding for emergency medical services dispatching by the Regional Fire and
Emergency Medical Dispatch Center (SFD Center) is provided for in a previous agreement
between the Parties.

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Deponent Neuer _
Date £8OSRon._ OTH

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2.1 The LLC shall contract for Ambulance Services in Zone B from AMR and Stockton. Each
Party shall submit claims for such services using one (1) agreed upon independent billing
entity (to be determined by mutual agreement of the Parties} and shall cause the total
collections from such services to be deposited into a “Lock Box" to be maintained by the
LLC. The total amount deposited into the Lock Box shall constitute "Total Collections. "

3. EMERGENCY SERVICES.

3.1 The LLC-shall also subcontract with Stockton to provide EMERGENCY Services. Such
services shall be performed in accordance with the applicable state and county guidelines
and/or statutes and under the full direction of the City of Stockton Fire Chief as
outlined within. the Charter of the City. The LLC shall compensate Stockton for Emergency
Services, in an annual amount per each twenty-four (24) hour ALS first responder engine to
be agreed upon by the Parties. Such amount shall be intended to cover the reasonable
marginal costs to Stockton of providing Emergency Services ("ALS Marginal Costs") for up
to thirteen (13) strategically located engine companies and one (1) rescue company, as
agreed upon by the Parties. Emergency Services Costs shall include: ( Emergency Services
; ALS assistance, SFD Management Fee, Oversight Fee); ,

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3.3 Stockton shall provide for AMR at a fair market value, the following physical
contributions;

(a) Provide usable surplus City property to house up to four (4) twenty four (24) hour
ALS units at an agreed upon contribution amount or equal value of like services;

{b} Provide usable surplus City property, to meet specifications outlined by AMR, to
house office and medical supply management for the mutual use of all required RFP
services. Not withstanding the above, assets may be used for AMR's provision of services
outside of the County Contract. Examples include, but are not limited to, needed billing,
administrative and managerial functions necessary for AMR to comply with their LLC
contractual agreements. Locations will be further outlined within: the Operating Agreement.

7.3 In the event the LLC is not successful in securing an award of the County Contract
for that. part of the Service Area that includes Zone B:

(a) This MOU shall be deemed terminated and
_ (4) Both Parties shall have their individual contributions returned in whole, minus any

initial start-up costs associated with the RFP process or forming of. an LLC.

7.4 In the event the LLC is awarded the County Contract for that part. of the Service
Area that includes Zone B, this MOU shall.remain in effect with an Operating Agreement and
such other agreements as the parties may enter into, or until the dissolution of the LLC.
The parties shall use their best efforts to execute and sign an Operating Agreement and
such other agreements they deem. necessary at least one (1) month prior to the commencement
date of the County Contract.

9.6 This MOU, the Regional Fire and Emergency Medical Dispatch Agreement and the Joint
Venture Agreement constitutes a whole and existing binding agreements between the Parties.
Other than the representations expressly stated as such in this MOU, there are no
warranties, promises or representations of any kind, express or implied, upon which either
Party has relied in entering into this MOU, or as to the future relationships or dealings
of the Parties. This MOU is intended solely for the benefit of the Parties and has no

third party beneficiaries.

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